UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF WISCONSIN
AT LAW AND IN ADMIRALTY

 

UNITED STATES OF AMERICA,

Plaintiff,

Case No. 17-CV-1770
vs,

APPROXIMATELY $1,349,496.00 IN
UNITED STATES CURRENCY FROM UBS
ACCOUNT ENDING IN 0703, and

APPROXIMATELY $879,740.02 IN UNITED
STATES CURRENCY FROM UBS
ACCOUNT ENDING IN 0589,

Defendants.

 

 

AFFIDAVIT OF STEVE STEWART
STATE OF UTAH §
§
COUNTY OF SALTLAKE §
Steve Stewart, upon my oath, deposes and says:

1. I am an Executive Director and the Chief Credit Officer of UBS Bank

USA (“UBS Bank”). I have personal knowledge of the facts stated herein and am authorized to

make this Affidavit. I am submitting this Affidavit in support of the accompanying motion for

summary judgment by UBS Bank and UBS Financial Services Inc. (“UBS Financial Services”).
(UBS Bank and UBS Financial Services are collectively referred to herein as “UBS”.)

2, UBS Financial Services is a brokerage firm incorporated in Delaware with

a principal place of business in Weehawken, New Jersey.

Case 2:17-cv-01770-LA Filed 08/01/18 Page 1of4 Document 28-8
3. UBS Bank is a federally regulated, Utah industrial bank based in Salt Lake
City, Utah that, among other things, provides credit and loans to certain customers of UBS
Financial Services.

4. Sonag Company, Inc. ‘(“Sonag”) has maintained certain brokerage
accounts at UBS Financial Services, including, but not limited to, Account Nos. ending 0703 and
0589 (collectively, the “UBS Collateral Accounts”).

5. On or about January 22, 2015, UBS Bank extended a line of credit to
Sonag.

6. Attached hereto as Exhibit A is a true and accurate copy of the Borrower
Agreement and Credit Line Agreement (the “Credit Line Agreement”) between UBS Bank and
Sonag.

7. Attached hereto as Exhibit B is a true and accurate copy of the Master Account
Control Agreement between UBS Bank and UBS Financial Services.

8. Any credit advances that UBS Bank makes to Sonag under the Credit Line
Agreement accrue standard interest (“Standard Interest”) at a variable interest rate equal to the
30-day London Interbank Offer Rate (LIBOR) rate, plus 2.25%.

9. Since the line of credit was established, UBS Bank has made credit advances to
Sonag that remain unpaid in the total principal amount of $300,000.00. These principal
advances totaling $300,000 are reflected in the December 2017 monthly account statement for
Sonag’s loan account, a true and accurate copy of which is attached hereto as Exhibit C.

10. Interest has accrued, and continues to accrue, on Sonag’s outstanding credit line

balance as set forth in the Credit Line Agreement.

Case 2:17-cv-01770-LA Filed 08/01/18 Page 2 of 4 Document 28-8
li. Attached hereto as Exhibit D is a true and accurate copy of the November 2017
monthly account statements for UBS Account No. ending 0703.

12. Attached hereto as Exhibit E is a true and accurate copy of the November 2017
monthly account statement for UBS Account No. ending 0589.

13. Sonag has defaulted under the terms of the Credit Line Agreement and any and all
outstanding amounts owed by Sonag to UBS Bank under the Credit Line Agreement are
accelerated and due and payable in full.

14, For purposes of the instant summary judgment motion only, UBS has calculated
Sonag’s outstanding loan balance at $308,090.05 (as of July 24, 2018) based solely on Standard
Interest and without including any of the default interest or its attorneys’ fees and costs that UBS
is entitled to recover under the express terms of the Credit Line Agreement. This outstanding
loan balance of $308,090.05 (as of July 24, 2018) consists of $300,000 in principal and
$8,090.05 in accrued Standard Interest.

15. Attached hereto as Exhibit F is a true and accurate copy of the calculation of the
Standard Interest that has accrued through July 24, 2018 under UBS Bank’ s credit line to Sonag.

Standard Interest continues to accrue at a per diem of $37.02. _ # | a ve

  

16... In the event that UBS Bank’s motion for summaiy judginent is dé

and UBS
Bank’s outstanding loan is not repaid at this time, UBS Bank is reserving its right to seek
recovery of all default interest and attorneys’ fees and costs to which it is entitled under the
Credit Line Agreement.

17. UBS did not know of the alleged wrongdoing by Sonag and/or its principals

giving rise to forfeiture, and was reasonably without cause to believe that the UBS Collateral

Case 2:17-cv-01770-LA Filed 08/01/18 Page 3 of 4 Document 28-8
Accounts were subject to forfeiture, at the time that UBS Bank extended the credit line and any
corresponding credit to Sonag and received its security interest and lien in the UBS Collateral
Accounts.

18. Had UBS had any reason to suspect that the UBS Collateral Accounts could be
subject to forfeiture, or that Sonag and/or its principals allegedly were engaged in illegal

activities, UBS Bank would not have extended the subject loan to Sonag.

I state under penalty of perjury that this affidavit is true and correct to the best of my

knowledge.

es. — Se
STEVE STEWART

 

SUBSCRIBED AND SWORN TO BEFORE ME, under penalties of perjury by
said Steve Stewart on this the 7 ]**day of Sut UW 2018, to certify which witness my hand

and seal of office.

 

JULIE PETERSON

 

NOTARY PUBLIC NOTARY PUBLIC, State of Utah
STATE OF UTAH
j COMMISSION # 687652
MY COMMISSION EXPIRES ON My Commission Expires: 2+ 2b 202.0

FEBRUARY 26, 2020

 

4824-9741-5278, v. 1

Case 2:17-cv-01770-LA Filed 08/01/18 Page 4 of4 Document 28-8
